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                   IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

 UNITED STATES OF AMERICA,

                   Plaintiff,

       v.                                 CRIMINAL NO. 1:14CR66-3
                                               (Judge Keeley)

 ERIC HOLT,

                   Defendant.

           ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
          OPINION/REPORT RECOMMENDATION CONCERNING PLEA OF
       GUILTY IN FELONY CASE AND SCHEDULING SENTENCING HEARING

       On November 17, 2014, defendant, Eric Holt, (“Holt”) appeared

 before United States Magistrate Judge John S. Kaull and moved for

 permission to enter a plea of GUILTY to the lesser-included offense

 in Count Three of the Indictment. Holt stated that he understood

 that the magistrate judge is not a United States District Judge,

 and consented to pleading before the magistrate judge.           This Court

 had referred the guilty plea to the magistrate judge for the

 purposes of administering the allocution pursuant to Federal Rule

 of Criminal Procedure 11, making a finding as to whether the plea

 was knowingly and voluntarily entered, and recommending to this

 Court whether the plea should be accepted.

       Based upon Holt’s statements during the plea hearing and the

 government’s proffer establishing that an independent factual basis

 for the plea existed, the magistrate judge found that Holt was

 competent to enter a plea, that the plea was freely and voluntarily

 given, that he was aware of the nature of the charge against him
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 and the consequences of his plea, and that a factual basis existed

 for the tendered plea. On November 17, 2014, the magistrate judge

 entered an Opinion/Report and Recommendation Concerning Plea of

 Guilty in Felony Case (“R&R”) (dkt. no. 107), finding that a

 factual basis existed for the plea and recommending that this Court

 accept the plea of guilty to the lesser-included offense in Count

 Three of the Indictment.

       The magistrate judge also directed the parties to file any

 written objections to the R&R within fourteen (14) days after

 service of the R&R. The magistrate judge further directed that

 failure to file objections would result in a waiver of the right to

 appeal from a judgment of this Court based on the report and

 recommendation. The parties did not file any objections.

       Accordingly, this Court ADOPTS the magistrate judge’s R&R,

 ACCEPTS Holt’s guilty plea, and ADJUDGES him GUILTY of the lesser-

 included offense charged in Count Three of the Indictment.

       Pursuant to Fed. R. Crim. P. 11(e)(2) and U.S.S.G. § 6B1.1(c),

 the Court DEFERS acceptance of the proposed plea agreement until it

 has received and reviewed the presentence report prepared in this

 matter.



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        Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS as

 follows:

        1.    The   Probation     Officer     undertake     a    presentence

 investigation of ERIC HOLT,       and prepare a presentence report for

 the Court;

        2.    The Government and Holt are to provide their versions of

 the offense to the probation officer by December 15, 2014;

        3.    The presentence report is to be disclosed to Holt,

 defense counsel, and the United States on or before January 30,

 2015; however, the Probation Officer is not to disclose the

 sentencing recommendations made pursuant to Fed. R. Crim. P.

 32(e)(3);

        4.    Counsel may file written objections to the presentence

 report on or before February 13, 2015;

        5.    The Office of Probation shall submit the presentence

 report with addendum to the Court on or before February           27, 2015;

 and

        6.    Counsel may file any written sentencing statements and

 motions for departure from the Sentencing Guidelines, including the




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 factual     basis    from    the   statements    or   motions,   on   or   before

 March 13, 2015.

       The magistrate judge continued Holt on bond pursuant to the

 Order Setting Conditions of Release (dkt. no. 25) entered on

 September 18, 2014.

       The    Court    will    conduct    the    sentencing   hearing    for   the

 defendant on Friday, March 20, 2015 at 2:30 P.M. at the Clarksburg,

 West Virginia point of holding court.

       It is so ORDERED.

       The Clerk is directed to transmit copies of this Order to

 counsel of record, the defendant and all appropriate agencies.

 DATED: December 1, 2014


                                         /s/ Irene M. Keeley
                                         IRENE M. KEELEY
                                         UNITED STATES DISTRICT JUDGE




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